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Attorney for Plaintiff



                     IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF UTAH

 CRIMINAL PRODUCTIONS, INC.,                          Civil Action No. 2:17-cv-00550-DN

                Plaintiff,                                    Judge David Nuffer

        vs.
                                                  NOTICE OF VOLUNTARY DISMISSAL
 DOES 1-32,                                             WITHOUT PREJUDICE
                                                    AS TO CERTAIN DEFENDANTS
                Defendants.



       Plaintiff, Criminal Productions, Inc., by and through its counsel of record, hereby

voluntarily dismisses this action without prejudice against certain Defendants (“Defendants”)

identified below pursuant to Rule 41(a)(1)(A) of the Federal Rules of Civil Procedure. Defendants

have made no appearance in this case and have therefore not filed an Answer or Summary

Judgment Motion. Accordingly, Plaintiff voluntarily dismisses this action as to the Defendants

identified below without a court order.

               DOE                        IP                       NAME
                 7                71.219.57.75                   Ricky Baker

                 8               75.162.69.240                   Ricky Baker

                17               67.177.16.219                 Derrick Martin
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       28                73.98.208.3                    Marta Torres

       30               67.177.56.142                   Terry Shelby

       31               67.182.204.87                 Maria Arredondo


DATED: April 9, 2019.

                                  DUREN IP


                                  By:       /s/Todd E. Zenger
                                            Todd E. Zenger

                                            Attorneys for Plaintiff
                                            Criminal Productions, Inc.




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